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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION
                             __________________________


DAWN M. BACHI-REFFITT,

              Plaintiff,

v.                                                        Case No. 1:17-CV-263

KEVIN REFFITT, RONALD                                     HON. GORDON J. QUIST
REFFITT, SR., KAREN WIERENGA,
and PENCON, INC.,

            Defendants.
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                                           ORDER

       Plaintiff’s motion to file a reply to Defendants’ response to Plaintiff’s motion for

reconsideration (ECF No. 44) is DENIED. The issues in this case have been exhaustively briefed

and the parties have had ample opportunity to make their arguments.

       IT IS SO ORDERED.



Dated: January 12, 2018                                  /s/ Gordon J. Quist
                                                        GORDON J. QUIST
                                                   UNITED STATES DISTRICT JUDGE
